        Case 22-31641-mvl7                      Doc 250-1 Filed 05/04/23 Entered 05/04/23 20:25:50                                        Desc
                                                 Adversary Cover Sheet Page 1 of 2
  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Scott M. Seidel, Trustee; GNET ATC, LLC; and                                     James Frinzi; Frinzi Family Trust; and
Multiband Field Services, Inc.                                                   Multiband Global Resources, LLC
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Davor Rukavina; Munsch Hardt Kopf & Harr, P.C.
500 N. Akard St., #3800, Dallas TX 75201
214.855.7500
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ'HEWRU    Ƒ86 Trustee/Bankruptcy Admin        ƑDebtor      ƑU.S. Trustee/Bankruptcy Admin
Ƒ&UHGLWRU  Ƒ2WKHU
            X                                      ƑCreditor    Ƒ
                                                                  XOther
Ƒ7UXVWHH
X                                                  ƑTrustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Breach of fiduciary duty; fraudulent transfer; constructive trust; resulting trust



                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ  61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ  68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ2 13-Recovery of money/property - §548 fraudulent transfer                     Ƒ  63-Dischargeability - §523(a)(8), student loan
Ƒ3 14-Recovery of money/property - other                                        Ƒ  64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ  65-Dischargeability - other

                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ  71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)       Ƒ4 72-Injunctive relief – other
    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    Ƒ1 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
Ƒ
X Check if this case involves a substantive issue of state law                  ƑCheck if this is asserted to be a class action under FRCP 23
Ƒ&KHFNLIDMXU\trial is demanded in complaint                                Demand $        6,000,000
Other Relief Sought

 Constructive trust, resulting trust, turnover
       Case 22-31641-mvl7             Doc 250-1 Filed 05/04/23 Entered 05/04/23 20:25:50                                Desc
                                       Adversary Cover Sheet Page 2 of 2
 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Goodman Networks, Inc.                                                  22-31641
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Dallas                            Larson, M.
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)



    /s/ Davor Rukavina

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

    May 4, 2023                                                          Davor Rukavina


                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
